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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   CASE NO.: 1:17-CV-60092


  SOO KO,

         Plaintiff,

  v.

  MSC CRUISES, S.A.,

        Defendant.
  ________________________________________/

                   DEFENDANT MSC’S RESPONSE TO PLAINTIFF’S
           MOTION FOR EXTENSION OF TIME TO FILE EXPERT DISCLOSURES

         Defendant MSC Cruises, S.A. (f/k/a MSC Crociere, S.A.) (hereinafter “MSC”), hereby

  files its Response to Plaintiff’s Motion For Extension of Time to File Expert Disclosures (DE 40)

  and states as follows:

         1.      On April 12, 2017 the Parties filed a Joint Scheduling Report (“JSR”) [DE 15].

  The JSR set the deadlines for expert witness disclosures on December 1, 2017, and deadline for

  rebuttal expert witness reports on December 20, 2017. The Court’s own Scheduling Order did

  not address the expert witness and rebuttal report disclosure deadlines in the JSR and therefore

  these deadlines became part of the Court’s Scheduling Order.1

         2.      On April 13, 2017 the Court entered a Scheduling Order [DE 16] setting January

  19 as the deadline to complete all discovery.

         3.      On October 23, 2017, Plaintiff filed a Motion For Leave to File Plaintiff’s Second

  Amended Complaint [DE 29] seeking to add a claim for over service of alcohol.


  																																																								
  1 	The Scheduling Order stated that all “dates and other agreements between the parties not

  otherwise addressed herein shall be considered part of this Order.” See DE 16. 	

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         4.      On November 27, 2017, the Court granted Plaintiff’s Motion for Leave to File

  Plaintiff’s Second Amended Complaint and Plaintiff filed her Second Amended Complaint the

  same day.

         5.      Plaintiff’s instant Motion [DE 40] requests the court extend the December 1, 2017

  expert disclosure deadline to January 2, 2018 to allow Plaintiff more time to hire experts to

  render an opinion on Plaintiff’s new over service of alcohol claim. However, Plaintiff’s Motion

  does not address related deadlines, including the December 20, 2017 deadline to exchange

  rebuttal expert witness report, the January 19, 2018 deadline for all discovery to be completed or

  the February 19 deadline to file substantive pretrial motions.

         6.      If the Court grants Plaintiff’s Motion for Extension of Time to File Expert

  Disclosures, then once Plaintiffs make their initial expert disclosures, Defendant will also require

  additional time to conduct expert discovery, including time to depose Plaintiff’s expert(s) and

  find and hire appropriate rebuttal expert witnesses which Plaintiff, in turn, may also wish to

  depose.

         7.      Plaintiff filed her Motion For Leave to File Plaintiff’s Second Amended

  Complaint [DE 29] on October 23, 2017, has therefore has had sufficient time to locate and hire

  appropriate expert witnesses regarding the new over service of alcohol allegations. Defendant

  will be prejudiced if the expert disclosure deadline is extended without extending the other

  related deadlines discussed above.

         8.      Defendant requests the Court DENY plaintiff’s Motion for Extension of Time to

  File Expert Disclosures [DE 40]. However, should the Court grant Plaintiff’s Motion, Defendant

  respectfully requests this honorable Court also extend the deadlines related rebuttal expert

  witness summaries and reports, deadline to complete discovery, and the deadline to file




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  substantive pretrial motions.

         Dated: November 28, 2017
         Miami, Florida
                                                        Respectfully submitted,

                                                        MALTZMAN & PARTNERS, P.A.

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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the

  Court via CM/ECF on this 28th day of November 2017. I also certify that the foregoing was

  served on all counsel or parties of record on the attached Service List either via transmission of

  Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those

  counsel or parties who are not authorized to receive electronic Notices of Filing.

                                                        By: /s/ T. Alexander Devine
                                                               T. Alexander Devine




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                                 SERVICE LIST
                            CASE NO.: 17-CV-20134-RNS

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